    Case 22-19655-VFP            Doc 11 Filed 12/28/22 Entered 12/28/22 09:40:38                     Desc Ntc of
                                       Confirmation Hrg Page 1 of 1
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−19655−VFP
                                         Chapter: 13
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Harmut R. Huschens
   10 Bridle Way
   Wantage, NJ 07461
Social Security No.:
   xxx−xx−9971
Employer's Tax I.D. No.:


                           NOTICE OF HEARING ON CONFIRMATION OF PLAN



Date:                 2/2/23
Time:                 08:30 AM
Location:              Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor,
Newark, NJ 07102

             An objection to confirmation of the plan, including any motions referenced therein to avoid judicial liens
under 11 USC section 522(f) and/or to avoid liens and reclassify claims in whole or in part, shall be filed and served
seven days before confirmation. Filing a motion for relief from the automatic stay will not be considered an objection
to the confirmation.

          If, at the confirmation hearing, it is determined that the debtor's plan is not confirmable, the case
may be dismissed or converted.

A copy of the Plan will follow this notice.




Dated: December 28, 2022
JAN: lc

                                                        Jeanne Naughton
                                                        Clerk, U. S. Bankruptcy Court
